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U.S. Departme

     
   
 

GLENN B. Mc@@RATE RE? —— COPY

Acting United Stptes Att
District of Arizoha NOV 2 8 2021

 

 

Two Renaissance Square
40 N. Central Ave., Suite Bese
Phoenix, AZ 85004-4408

November 23, 2021

Honorable Dominic W. Lanza

U.S. District Court Judge

Sandra Day O’Connor U.S. Courthouse, Suite 621
401 W. Washington Street, SPC 46

Phoenix, Arizona 85003-2151

 

Re: United States v. Willie Mitchell, et al.
USAO No. 2021R05551
Court No. CR-21-00977-PHX-GMS

Dear Judge Lanza:

This case has been or may be assigned to you. In order for you to determine whether a potential conflict
may exist in a case or matter that has been assigned to your Court, and in light of your former positions with the
Department of Justice, you have requested that we automatically provide the following information. We have
carefully reviewed all the available records in our office, including the computer data, and determined that
(mark the appropriate category, if applicable):

1 ACONFLICT MAY EXIST

 

oO The case or matter was in the White Collar Fraud and Public Corruption Section of the United
States Attorney’s Office for the District of Arizona while you served in a supervisory capacity
over that section (December 2, 2012 through January 24, 2015).

-] The case or matter was in the United States Attorney’s Office for the District of Arizona while
you served in a supervisory capacity over the Criminal Division (January 25, 2015 through
September 11, 2018).

Ol My review of the file indicates that you had direct involvement in this case or matter while you
worked in the United States Attorney’s Office for the District of Arizona (October 14, 2008
through September 11, 2018).

NO PROBABLE CONFLICT
My review of the file indicates that: 1) you had no direct involvement in the case or matter; 2) the
case or matter was not in the White Collar Fraud and Public Corruption Section when you
supervised that section (December 2, 2012 through January 24, 2015); and 3) the case or matter

was not in the office when you had supervisory authority over the Criminal Division (January
25, 2015 through September 11, 2018).

Sincerely,

s/ Peter Sexton

 

PETER SEXTO
Assistant ited States Attorney
Case 2:21-cr-00977-GMS Document5 Filed 11/23/21 Page 2 of 3

U.S. Department of Justice

GLENN B. McCORMICK
Acting United States Attorney
District of Arizona

 

 

Two Renaissance Square Main: (602) 514-7500
40 N. Central Ave., Suite 1800 Main Fax: (602) 514-7693
Phoenix, AZ 85004-4408

November 23, 2021

Honorable Michael T. Morrissey

United States Magistrate Judge

Sandra Day O’Connor U.S. Courthouse, Suite 324
401 W. Washington Street

Phoenix, Arizona 85003-2151

 

Re: United States v. Willie Mitchell, et al.
USAO No. 2021R05551
Court No.

Dear Judge Morrissey:

This case has been or may be assigned to you. In order for you to determine whether a potential conflict
may exist in a case or matter that has been assigned to your Court, and in light of your former positions with the
Department of Justice, you have requested that we automatically provide the following information. We have
carefully reviewed all the available records in our office, including the computer data, and determined that
(mark the appropriate category, if applicable):

HO ACONFLICT MAY EXIST

Cl The case or matter was in the United States Attorney’s Office for the District of Arizona while
you served in a supervisory capacity over the Appellate Section (November 3, 2002 through
May 1, 2005).

O The case or matter was in the National Security and Border Security Section of the United States
Attorney’s Office for the District of Arizona while you served in a supervisory capacity over that
section (May 2007 through October 23, 2011).

|
O My review of the file indicates that you had direct involvement in this case or matter while you
worked in the United States Attorney’s Office for the District of Arizona (September 8, 1991
through September 7, 2013).

& NO PROBABLE CONFLICT
My review of the file indicates that: 1) you had no direct involvement in the case or matter; 2) the
case or matter was not in the Appellate Section when you supervised that section (November 3,
2002 through May 1, 2005); and 3) the case or matter was not in the office when you had

supervisory authority over the National Security and Border Security Section (May 2007 through
October 23, 2011).

Sincerely,

5/ Peter Sexton

 

PETER
We TER Einit ONrates Attorney

 
U.S. Department of Justice

GLENN B. McCORMICK
Acting United States Attorney
District of Arizona

 

 

Two Renaissance Square Main: (602) 514-7500
40 N. Central Ave., Suite 1800 Main Fax: (602) 514-7693
Phoenix, AZ 85004-4408

November 23, 2021

Honorable Camille D. Bibles

United States Magistrate Judge

123 North San Francisco Street, Suite 200
Flagstaff, Arizona 86001

 

Re: United States v. Willie Mitchell, et al.
USAO No. 2021R05551
Court No.

Dear Magistrate Judge Bibles:

This case has been or may be assigned to you. In order for you to determine whether a
potential conflict may exist in a matter that has been assigned to your Court, and in light of your
former positions with the Department of Justice, you have requested that we automatically provide the
following information. We have carefully reviewed all of the available records in our office, to include
internal computer data, and determined that:

O A CONFLICT MAY EXIST
To the best of my knowledge, you had direct involvement in this case or matter while you were
employed with the U.S. Attorney’s Office on the following dates: October 1, 1998 through
January 11, 2002; January 5, 2004 through March 2, 2012; and April 6, 2015 through February
5, 2019.

 

NO PROBABLE CONFLICT
My review of the file and/or court docket indicates you did not have direct involvement in this
case or matter.

 

Please feel free to contact me with any questions. Thank you.
Sincerely,

s/ Peter Sexton

 

PETER SEXTON
Assistant United States Attorney

 
